              Case 2:18-cv-04901-SMB Document 21 Filed 10/01/19 Page 1 of 2




1    Sarah M. Staudinger (#032696)
     CITY OF MESA ATTORNEY’S OFFICE
2    MS-1077
     P.O. Box 1466
3    Mesa, Arizona 85211-1466
     Telephone: (480) 644-2343
4    mesacityattorney@mesaaz.gov
5    Attorneys for Defendant Austin Figueroa
6                           IN THE UNITED STATES DISTRICT COURT
7                                 FOR THE DISTRICT OF ARIZONA
8    Shone Dieoute Gholston,                             Case No. CV-18-04901-PHX-SMB (ESW)
9                                Plaintiff,
10                                                        DEFENDANT AUSTIN FIGUEROA’S
     vs.                                                RESPONSE TO PLAINTIFF’S REQUEST
11                                                       FOR AN ORDER ALLOWING HIM TO
     Mesa Police Department, et al.,                              VIEW A DVD
12
                                 Defendants.
13

14
            On June 20, 2019, Defendant mailed a disclosure statement to Plaintiff, including a DVD
15
     of body camera footage. On September 17, 2019, Plaintiff filed a request (Doc. 19) that the Court
16
     order the ASPC where Plaintiff is incarcerated to allow Plaintiff to view the DVD, so that Plaintiff
17
     can respond to a “motion.” To date, Defendant has not filed a motion requiring a response from
18
     Plaintiff. Since Plaintiff is not required to respond to Defendant’s disclosure statement, Defendant
19
     moves that Plaintiff’s request contained in Document 19 is denied.
20

21          Dated this 1st day of October, 2019.
22
                                                      /s/ Sarah M. Staudinger
23                                                  Sarah M. Staudinger
                                                    Assistant City Attorney
24

25
              Case 2:18-cv-04901-SMB Document 21 Filed 10/01/19 Page 2 of 2




1                                    CERTIFICATE OF SERVICE
2    I hereby certify that on October 1, 2019, I electronically transmitted the attached document to the
3    Clerk’s Office using the CM/ECF System for filing and served attached document by U.S. Mail
     on the following, who is not a registered participant of the CM/ECF System:
4
     Shone Dieoute Gholston, #143259
5    ASPC – Lewis - Barchey Unit 4F10L
     P.O. Box 3200
6
     Buckeye, Arizona 85326
7    Pro Se Plaintiff

8    /s/ Toni Bell
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                                                    -2-
